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 July 30, 2024                                                                Stephanie L. Silvano
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 The Honorable J. Brendan Day
 United States Magistrate Judge
 United States District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

 Re:      MacLean et al. v. Wipro Limited, No. 3:20-cv-03414 (GC) (JBD)

 Dear Judge Day:

 This firm represents Defendant Wipro Limited in the above-captioned matter. Pursuant to Local
 Rule 6.1(a) and Paragraph 2 of Your Honor’s Case Management Order, Wipro requests that the
 Court set the following briefing schedule for Plaintiffs’ Motion for Leave to File a Second
 Amended Complaint:

    (1)      Wipro’s opposition brief due August 16, 2024;
    (2)      Plaintiffs’ reply brief due August 27, 2024; and
    (3)      Motion day of September 16, 2024.

 On July 26, 2024, Plaintiffs filed a Motion for Leave to File a Second Amended Complaint (ECF
 67) with a motion day of August 19, 2024. The current deadline for Wipro’s opposition brief is
 August 5, 2024 and the deadline for Plaintiffs’ reply brief is August 12, 2024. Due to scheduling
 conflicts, Wipro requests that the Court set the above briefing schedule, which grants Wipro a
 short extension of its deadline to file its opposition brief. All parties consent to this request. If
 granted, the extension would not impact any other dates or deadlines in this matter.

 Respectfully submitted,




                                                               SO ORDERED this 31st day of July, 2024.
 ______________________________
 Stephanie L. Silvano




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Greta B. Williams
